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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ROTHSCHILD PATENT IMAGING LLC,

               Plaintiff,
                                                              CASE NO. 4:22-cv-01046
       v.
                                                                   PATENT CASE
MEDIAFIRE, LLC,
                                                            JURY TRIAL DEMANDED
               Defendant.


                 MEDIAFIRE’S ANSWER, AFFIRMATIVE DEFENSES,
                AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

       Defendant MediaFire, LLC (“MediaFire” or “Defendant”) files this Answer, Affirmative

Defenses, and Counterclaims to Plaintiff Rothschild Patent Imaging LLC (“Plaintiff” or “RPI”)

Complaint for Patent Infringement (“Complaint”). MediaFire denies the allegations and

characterizations in Plaintiff’s Complaint unless expressly admitted in the following paragraphs.1

                               PARTIES AND JURISDICTION

       1.      MediaFire admits that the Complaint purports to set forth an action for infringement

under 35 U.S.C. § 1, et seq. seeking injunctive relieve as well as damages. MediaFire denies it has

committed or is committing acts of infringement.

       2.      MediaFire admits that the Court has subject matter jurisdiction for this action.

MediaFire denies the remaining allegations in Paragraph 2 of the Complaint.

       3.      MediaFire is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies all such

allegations.


1
  For avoidance of doubt, MediaFire denies liability for all allegations of patent infringement
included or implied in the introductory paragraph or in any headings of the Complaint.


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          4.    MediaFire admits the allegations in Paragraph 4 of the Complaint.

          5.    MediaFire does not contest that the Court has personal jurisdiction over it in this

case. MediaFire admits that it conducts business in the State. MediaFire denies it has committed

or is committing acts of infringement within this district or elsewhere and, on that basis, denies the

remaining allegations of Paragraph 5 of the Complaint.

          6.    MediaFire admits that it conducts business in this District. MediaFire denies the

remaining allegations in Paragraph 6 of the Complaint.

                                              VENUE

          7.    MediaFire does not contest that venue is proper in this case. MediaFire denies the

remaining allegations in Paragraph 7 of the Complaint.

                              COUNT I
     ([ALLEGED] INFRINGEMENT OF UNITED STATES PATENT NO. 8,437,797)

          8.    MediaFire’s responses to Paragraphs 1–7 are incorporated as though fully set forth

herein.

          9.    MediaFire admits that the Complaint purports to set forth an action for infringement

under 35 U.S.C. § 271. MediaFire denies it has committed or is committing acts of infringement.

          10.   MediaFire is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 10 of the Complaint and, on that basis, denies all such

allegations.

          11.   MediaFire admits that a purported copy of U.S. Patent No. 8,437,797 (the “’797

Patent”) is attached to the Complaint as Exhibit A.

          12.   MediaFire denies the allegations in Paragraph 12 of the Complaint.

          13.   MediaFire denies the allegations in Paragraph 13 of the Complaint.

          14.   MediaFire denies the allegations in Paragraph 14 of the Complaint.



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       15.     MediaFire denies the allegations in Paragraph 15 of the Complaint.

       16.     MediaFire denies the allegations in Paragraph 16 of the Complaint.

       17.     MediaFire denies the allegations in Paragraph 17 of the Complaint.

       18.     MediaFire denies the allegations in Paragraph 18 of the Complaint.

       19.     MediaFire denies the allegations in Paragraph 19 of the Complaint.

       20.     MediaFire denies the allegations in Paragraph 20 of the Complaint.

       21.     MediaFire denies the allegations in Paragraph 21 of the Complaint.

       22.     MediaFire is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 22 of the Complaint and, on that basis, denies all such

allegations.

                               [PLAINTIFF’S] JURY DEMAND

       23.     Paragraph 23 does not require a response. To the extent a response is required,

MediaFire denies all allegations in Paragraph 23 of the Complaint.

                            [PLAINTIFF’S] PRAYER FOR RELIEF

       MediaFire denies the Plaintiff is entitled to any relief from MediaFire and denies the

allegations contained in Paragraphs (a)-(e) of Plaintiff’s Prayer for Relief.

                                  AFFIRMATIVE DEFENSES

       MediaFire’s Affirmative Defenses are listed below. MediaFire reserves the right to amend

its answer to add additional Affirmative Defenses consistent with the facts discovered in this case.

                              FIRST AFFIRMATIVE DEFENSE

       MediaFire has not infringed and does not infringe, under any theory of infringement

(including directly (whether individually or jointly) or indirectly (whether contributorily or by

inducement)), any valid, enforceable claim of the ’797 Patent.




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                             SECOND AFFIRMATIVE DEFENSE

       Each asserted claim of the ’797 Patent is invalid for failure to comply with one or more of

the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C.

§§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                              THIRD AFFIRMATIVE DEFENSE

       To the extent that Plaintiff and any predecessors in interest to the ’797 Patent failed to

properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or

otherwise give proper notice that MediaFire’s actions allegedly infringe the ’797 Patent, MediaFire

is not liable to Plaintiff for the acts alleged to have been performed before MediaFire received

actual notice that it was allegedly infringing the ‘797 Patent.

                             FOURTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff asserts that MediaFire indirectly infringes, either by contributory

infringement or inducement of infringement, MediaFire is not liable to Plaintiff for the acts alleged

to have been performed before MediaFire knew that its actions would cause indirect infringement.

                              FIFTH AFFIRMATIVE DEFENSE

       The claims of the ’797 Patent are not entitled to a scope sufficient to encompass any system

employed or process practiced by MediaFire.

                              SIXTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether

by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

granted.

                            SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the




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’797 Patent does not claim patent eligible subject matter under 35 U.S.C. § 101.

                               EIGHTH AFFIRMATIVE DEFENSE

          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because, among

other things, Plaintiff has not stated a plausible allegation that any system employed or process

practiced by MediaFire infringes the ’797 Patent.

                                NINTH AFFIRMATIVE DEFENSE

          Plaintiff is estopped, based on statements, representations, and admissions made during

prosecution of the patent application resulting in the asserted patent, from asserting any

interpretation of any valid, enforceable claims of the ’797 Patent that would be broad enough to

cover any accused product alleged to infringe the asserted patent, either literally or by application

of the doctrine of equivalents.

                                TENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C. §§ 286 and

287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering costs associated with its

action.

                             ELEVENTH AFFIRMATIVE DEFENSE

          Plaintiff is precluded from recovering its reasonable attorneys’ fees, costs, and or increased

damages under 35 U.S.C. §§ 284 or 285.

                              TWELFTH AFFIRMATIVE DEFENSE

          Should MediaFire be found to infringe any valid, enforceable claim of the ’797 Patent,

such infringement was not willful.




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                              MEDIAFIRE’S COUNTERCLAIMS

        For its counterclaims against Plaintiff Rothschild Patent Imaging LLC (“RPI”),

Counterclaim Plaintiff MediaFire, LLC (“MediaFire”), alleges as follows:

                                              PARTIES

        1.      Counterclaim Plaintiff MediaFire, LLC is an entity organized and existing under

the laws of Texas that maintains a place of business at 6606 FM 1488, Ste. 148-322, Magnolia,

TX 77354.

        2.      Upon information and belief based solely on Paragraph 3 of the Complaint as pled

by Plaintiff, Counterclaim Defendant Rothschild Patent Imaging LLC is a limited liability

company organized and existing under the laws of Texas that maintains a place of business at

1 East Broward Boulevard, Suite 700, Ft. Lauderdale, Florida 33301.

                                          JURISDICTION

        3.      MediaFire incorporates by reference Paragraphs 1–2 above.

        4.      These counterclaims arise under the patent laws of the United States, Title 35,

United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

        5.      RPI has consented to the personal jurisdiction of this Court at least by commencing

its action for patent infringement in this District, as set forth in its Complaint.

        6.      Based solely on RPI’s filing of this action, venue is proper for purposes of these

counterclaims in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                  COUNT I
                   DECLARATION REGARDING NON-INFRINGEMENT

        7.      MediaFire incorporates by reference Paragraphs 1–6 above.

        8.      Based on RPI’s filing of this action and at least MediaFire’s first affirmative



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defense, an actual controversy has arisen and now exists between the parties as to whether

MediaFire infringes U.S. Patent No. 8,437,797 (the “’797 Patent”).

       9.      MediaFire does not infringe at least Claim 16 of the ’797 Patent because, inter alia,

the accused system does not perform the steps of receiving a plurality of photographic images;

filtering the plurality of photographic images using a transfer criteria; or transmitting, via a

wireless transmitter and to a second image capturing device, the filtered plurality of photographic

images, wherein the image-capturing mobile device and the second mobile device are disposed in

a selectively paired relationship with one another based upon an affinity group associated with the

second mobile device.

       10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

MediaFire requests a declaration by the Court that MediaFire has not infringed and does not

infringe any claim of the ’797 Patent under any theory (including directly (whether individually or

jointly) or indirectly (whether contributorily or by inducement).

                                    COUNT II
                        DECLARATION REGARDING INVALIDITY

       11.     MediaFire incorporates by reference Paragraphs 1–10 above.

       12.     Based on RPI’s filing of this action and at least MediaFire’s Second Affirmative

Defense, an actual controversy has arisen and now exists between the parties as to the validity of

the claims of the ’797 Patent.

       13.     The earliest application to which the asserted ’797 Patent claims priority was filed

on August 8, 2008.

       14.     U.S. Patent No. 7,369,164 to Parulski, et al. (“Parulski”) issued from U.S. Pat. App.

No. 10/411,753, which was filed on April 11, 2003.

       15.     Parulski is prior art to the asserted ’797 Patent.



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       16.       Parulski does not appear in the file history of the application from which the ’797

Patent issued.

       17.       Claim 16 of the asserted ’797 Patent begins with a preamble that reads “A method

performed by an image-capturing mobile device, comprising”

       18.       Parulski’s Abstract states, among other things, “A method for capturing images

using a digital camera and organizing the captured images for storage into electronic albums, . . . .”

       19.       Claim 16 of the asserted ’797 Patent requires, among other things, “receiving a

plurality of photographic images.”

       20.       Parulski, at 7:20–21, states that the “digital camera 300 produces digital images that

are stored on the removable memory card 330.”

       21.       Claim 16 of the asserted ’797 Patent requires, among other things, “filtering the

plurality of photographic images using a transfer criteria.”

       22.       Parulski, at 8:51–53, states that a “user can press the ‘favorite’ button 364 to tag

the displayed image as a favorite image.” Parulski, at 12:29–35, states that “after the user presses

the ‘favorite’ button 364, the image processor 320 in the digital camera 300 updates the GUI screen

displayed on the color LCD display 332 to be as shown in FIG. 7B. The GUI screen 500B in FIG.

7B includes a ‘favorite’ indicator 506B, for example, the heart shaped icon shown in FIG. 7B.”

Parulski’s FIG. 7B is shown below.




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       23.     Claim 16 of the asserted ’797 Patent requires, among other things, “transmitting,

via a wireless transmitter and to a second image capturing device, the filtered plurality of

photographic images.”

       24.     Parulski, at 8:59–61, states that “the interface between the digital camera 300 and

the home computer 10 can be a wireless interface.” Parulski, at 14:37–38, states that “FIG. 9A

depicts an example of a computer user interface screen for displaying all of the transferred images.”

Parulski’s FIG. 9A is shown below.




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        25.     Claim 16 of the asserted ’797 Patent requires, among other things, that “the image-

capturing mobile device and the second mobile device are disposed in a selectively paired

relationship with one another based upon an affinity group associated with the second mobile

device.”

        26.     Parulski, at 23:24–27, discloses “a ‘Share Photos’ icon 1236 that can be used to

enable another GUI screen (not shown) to allow images in a selected album to be shared with one

or more designees of the user, . . . .”

        27.     Parulski anticipates and/or renders obvious the claims of the ’797 Patent under

Plaintiff’s interpretation of the claims.

        28.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

MediaFire requests a declaration by the Court that the claims of the ’797 Patent are invalid for




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failure to comply with one or more of the requirements of United States Code, Title 35, including

without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws

pertaining thereto.

                                     PRAYER FOR RELIEF

       WHEREFORE, MediaFire asks this Court to enter judgment in MediaFire’s favor and

against RPI by granting the following relief:

       a)        a declaration that the ’797 Patent is invalid;

       b)        a declaration that MediaFire does not infringe, under any theory, any valid claim

of the ’797 Patent that may be enforceable;

       c)        a declaration that RPI take nothing by its Complaint;

       d)        judgment against RPI and in favor of MediaFire;

       e)        dismissal of the Complaint with prejudice;

       f)        a finding that this case is an exceptional case under 35 U.S.C. § 285 and an award

to MediaFire of its costs and attorneys’ fees incurred in this action; and

       g)        further relief as the Court may deem just and proper.

                                         JURY DEMAND

       MediaFire hereby demands trial by jury on all issues.




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Dated: May 4, 2022                         Respectfully submitted,

                                           FISH & RICHARDSON P.C.

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on May 4, 2022, to all counsel of record who are deemed to have

consented to electronic service via the Court’s CM/ECF system.




                                                          /s/ Neil J. McNabnay
                                                          Neil J. McNabnay




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